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      CONFIDENTIAL SETTLEMENT AGREEMENT AND GENERAL RELEASE


RELEASOR:                                    Marjorie Quiros

RELEASEE:                                    Jon K. Pierce and all insureds under Jon K. Pierce’s
                                             policy, included but not limited to Jessica Pierce, and
                                             State Farm as the insurer.

DATE CLAIM AROSE:                            On or about April 6, 2017 and thereafter as alleged
                                             by Releasor.

DESCRIPTION OF CLAIM:                        Any and all claims, requests for relief, and/or
                                             damages arising out of or related in any way, directly
                                             or indirectly, to a motor vehicle accident between
                                             Releasor and Releasee occurring on or about April 6,
                                             2017.

SUM OF SETTLEMENT:                           Eighty-Seven Thousand Dollars ($87,000) total;
                                             Forty-Four Thousand Five Hundred Fifteen Dollars
                                             and Ninety-Seven Cents ($45,515.97) having been
                                             advanced paid and Forty-One Thousand Four
                                             Hundred Eighty-Four Dollars and Three Cents
                                             ($41,484.03) of “new money”

CIVIL CAUSE:                                 Mcnjorie Quiros and Cory Leinweber v. Jessica
                                             Pierce, and Allstate Fire and Casualty Insurance
                                             Company, Montana eighteenth Judicial District Court,
                                             Gallatin County, Cause No: DV-18-1162A


1.     Release

        The undersigned Releasor acknowledges receipt of the above sum of money described in
Paragraph 6 herein and in consideration for payment of such sum, fully and forever releases and
discharges Releasee and its successors, assigns, agents, partners, employees and attorneys from any
and all actions, claims, causes of action, demands, or expenses for damages or injuries, whether
asserted or unasserted, known or unknown, foreseen or unforeseen, arising out of the described
claim.

2.     Future Damages

      Inasmuch as the injuries, damages, and losses resulting from the events described herein
may not be fully known and may be more numerous or more serious than it is now understood or
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                                                                                      EXHIBIT
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expected, the Releasor agrees, as a further consideration of this agreement, that this Release applies
to any and all injuries, damages and losses of any nature including wages resulting from the claim
described herein, even though now unanticipated, unexpected and unknown, as well as any and all
injuries, damages and losses which have already developed and which are now known or
anticipated.

3.     No Admission of Liability

        It is understood that the above-mentioned sum is accepted as the sole consideration for full
satisfaction and accord to compromise a disputed claim, and that neither the payment of the sum by
Releasee nor the negotiations for settlement shall be considered as an admission of liability.

4.     Apportionment of Payment to Lienholders

        This payment shall be apportioned by Releasor among doctors, hospitals, all other health
care providers and services, and any other individuals, companies, agencies, workers compensation
insurers or agencies, political subdivisions, or attorneys, if applicable, who may have valid liens or
rights of subrogation or reimbursement, and Releasor agrees to indemnify Releasee from and
against all such claims by such parties,.

5.     No Additional Claims

        Releasor represents that no additional claims are contemplated against any other party
potentially liable for the losses, damages, and injuries for which this Release is given.

6.     Payment and Disbursement of Sum of Settlement

        In consideration for signing this settlement and release agreement and the fulfillment of the
promises made herein, the Releasee hereby agrees to pay the Releasor the sum of forty-One
Thousand Four Hundred Eighty-Four Dollars and Three Cents ($41,484.03), as aforesaid, inclusive
of attorney’s fees and private litigation expenses.

7.     Stipulation for Dismissal With Prejudice

        Releasor stipulates and agrees that Releasor’s attorney of record shall dismiss with
prejudice, as fully settled upon the merits, the above-described civil action against Releasee. Each
party shall pay their respective costs and attorneys’ fees.

8.     Disclaimer

       Releasor has carefully read the foregoing, discussed its legal effect with Releasor’s attorney,
understands the contents thereof, and signs the same of Releasor’s own free will and accord. This
Release shall be binding upon Releasor’s heirs, successors, personal representatives and assigns.


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9.      Severability

       Should any provision of this Settlement Agreement and General Release be determined to
be unenforceable, all remaining terms and clauses shall remain in force and shall be fully
severable.

10.     Choice of Law

      The laws of the State of Montana shall apply to the interpretation of this Settlement
Agreement and General Release.

11.    Final Agreement

      This written Settlement Agreement and General Release constitutes the final agreement
between the parties and shall supersede any oral agreements to the contrary.

       DATED this day of                               ,2019.


                                             CAUTION: READ BEFORE SIGNING!



                                             MARJQIE QUROS
                                             RELEAS OR



APPROVED BY:




Justin P. Staples
Attorney for Plaintiff




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